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                                                                                                          _FILED         _ENTERED
                                  IN THE UNITED STATES DISTRICT COURT                                     _LOGGED        _RECEIVED

                                     FOR THE DISTRICT OF MARYLAND
                                                                                                               MAR 16 2011
                                                                                                                   AT GREENBELT
United States of America                                       *                                            CLERK, U.S. OIsmlCT COURT
                                                                                                              OIsmlCTOF    MARYlAND
                                                                                                     BY
                 v.                                            *                Criminal Case No. RWT 11-0117

Jose Marlon Ortiz-Gomez                                        *
                                                           ******
                                           REGULAR SENTENCING               ORDER


           (1)        On or before            April 26, 2011        (1I0t more thall 40 days from the date of t!lis order),


the Probation Officer shall serve two copies of the presentence report upon counsel for the

Defendant, who shall review the report with and, provide one of the copies to, the Defendant.

The Probation Officer shall also serve one copy of the presentence report upon counsel for the

Government.

           (2)        On or before             May II, 2011            (llotiess thall 14 days fr011l date ill paragraph    1),


counsel shall submit, in writing, to the Probation Officer and opposing counsel, any objections to

any material information, sentencing classifications, advisory sentencing guideline ranges, or

policy statements contained in or omitted from the report.

           (3)        After receiving counsel's objections, the Probation Officer shall conduct any

necessary further investigation and may require counsel for both parties to meet with the

Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth those objections and any comment thereon.




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                  (4)       On or before             May 23,2011                 (not less than 11 days frol1l date ;n paragraph 2),


       the Probation       Officer shall serve two copies of any revisions                      and addendum        to the presentence

       report upon counsel for the Defendant,                    who shall provide one of the copies to the Defendant.

       The Probation        Officer shall also serve one copy of any revision and addendum                               to the presentence

       report upon counsel for the Government.                      The Probation        Officer shall then submit the report (and

       any revisions       and addendum          thereto) to the Court.

                  (5)       If counsel for either party intends to call any witnesses                      at the sentencing              hearing,

       counsel shall submit, in writing, to the Court and opposing                            counsel, on or before.J=,            re )S ..";).()I (
                                                                                                                                               7
       (not less than 14 days before sentencing),             a statement   containing        (a) the names of the witnesses,                (b) a

       synopsis of their anticipated            testimony,        and (c) an estimate of the anticipated             length of the

       hearing.

                  (6)       Sentencing       memoranda           are not required unless a party intends to request a

       sentence outside the advisory guidelines                    range on the basis of a non-guideline                 factor.     If

       submitted,       they shall be filed with the Clerk and a copy delivered                       to chambers        on or before

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                1 ;;212/ ( (ootle." Ihoo 14 dOY.fbe!m seoteociog). Opposing or responding memoranda are
       not required.       If submitted,      they shall be delivered           to chambers        on or before      ~        t\{J        2-2 ;;..0 ) I
                                                                                                                                               J
       (not less than 7 days before sentencing).          Copies of all memoranda                must be sent to the Probation

       Officer.

                  (7)       Sentencing       shall be    0;:::S;~ e ~ '1           )     D
                                                                                             1lY I ( at    i -~1411.
                  (8)       The presentence          report, any revisions,        and any proposed          findings made by the

       Probation        Officer in the addendum           to the report shall constitute            the tentative    findings of the

       Court under section 6A 1.3 of the sentencing                    guidelines.       In resolving     disputed       issues of fact, the

       Court may consider any reliable information                     presented       by the Probation       Officer, the Defendant,




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or the Government, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.

           (9)        Nothing in this Order requires the disclosure of any portions of the presentence

report that are not discloseable under Federal Rules of Criminal Procedure 32.

           (10)       The dates of service set forth in this Order refer to the date of receipt of the paper

being served. If the Probation Officer or counsel are making service of a paper by mail, they

must mail the paper at least three days before the date set forth in the Order.




 ti.w~(~ 2D Il
Date                                                    ~~2  UNITED STATES DISTRICT JUDGE




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